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                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT
                         1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                             May 21, 2024

                                       ___________________

                                             No. 24-1406
                                        (8:20-cv-03581-ADC)
                                       ___________________

        MICHAEL T. PARKER; PATRICE PARKER

                    Plaintiffs - Appellants

        and

        ALICE MEJIA

                    Proposed Intervenor/Plaintiff - Appellant

        v.

        NEWREZ LLC, d/b/a Shellpoint Mortgage Servicing

                    Defendant - Appellee

        and

        GOLDMAN SACHS MORTGAGE COMPANY LIMITED PARTNERSHIP

                     Defendant
                              ____________________________

                                 AMENDED CAPTION NOTICE
                                ____________________________

        TO: Counsel and Parties
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        Upon consideration of the docketing statement correction notice filed by
        appellants, the caption of this appeal has been amended as shown above. No
        further corrections or modifications to the case caption will be made absent the
        filing of a motion to amend the caption.

        Anisha Walker, Deputy Clerk
        804-916-2704
